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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF FLORIDA

     1199SEIU UNITED                           )
     HEALTHCARE WORKERS EAST,                  )
                                               )
             Plaintiff,                        )
                                               )   No. 20 C
             v.                                )
                                               )
     LOUIS DEJOY, Postmaster                   )
     General and Chief Executive               )   PLAINTIFF’S COMPLAINT
     Officer of the United States Postal       )   FOR INJUNCTIVE AND
     Service; and the UNITED STATES            )   DECLARATORY RELIEF
     POSTAL SERVICE,                           )
                                               )
             Defendants.                       )


                                        COMPLAINT

        Plaintiff 1199SEIU UNITED HEALTHCARE WORKERS EAST, by its

  undersigned attorneys, hereby complains against Defendants LOUIS DEJOY,

  Postmaster General and Chief Executive Officer of the United States Postal Service,

  and the UNITED STATES POSTAL SERVICE, stating as follows:

                                     INTRODUCTION

        1.        In the middle of a pandemic and on the eve of a national election,

  Defendant Postmaster General Louis DeJoy has made illegal and unprecedented

  changes to the policies of the United States Postal Service that will delay ballots

  and disenfranchise thousands of citizens in Florida.

        2.        For well over a century, the Postal Service has been an integral part of

  our nation’s state-based election infrastructure. Citizens have been casting ballots

  absentee since at least the Civil War and for just as long the Postal Service has


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  been responsible for making sure ballots arrive in time to be counted. Congress has

  repeatedly enacted laws requiring the Postal Service to facilitate the right to vote by

  mail in state-run elections.

        3.     In recognition of this obligation, the Postal Service had long adhered to

  policies providing for the expeditious handling of election mail. Among other things,

  the Postal Service has taken measures to ensure that election mail is identifiable, is

  delivered in time to be counted, and is treated as First-Class mail (or better),

  regardless of the amount of postage paid.

        4.     Disregarding these entrenched policies, Defendant DeJoy has recently

  made unlawful changes to Postal Service policies, which have had and will continue

  to have profound effects on the delivery of election mail. For example, Defendant

  DeJoy has caused a substantial number of high-speed sorting machines to be

  removed and has acknowledged those machines have been disassembled and cannot

  be timely replaced. More sorting machines have been removed in Florida than any

  other state in the nation except California. Defendant DeJoy’s changes in policy

  have caused a substantial and potentially irreversible decline in the time necessary

  to deliver First-Class mail.

        5.     In addition, Defendant DeJoy has sowed confusion and uncertainty by

  insisting that in the upcoming election ballots will be delivered to voters only in

  accordance with the postage paid, even while state officials and voters preparing for

  the upcoming election have already relied on the Postal Service’s prior policies of

  speeding all ballots to and from voters regardless of the postage paid.



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        6.     In 30 states, including Florida, ballots will be rejected and voters

  disenfranchised if the Postal Service does not deliver their ballots on or before

  Election Day, even if the voters have complied with all deadlines set by the states

  that run the election. Whether those ballots will be counted depends quite literally

  on the Postal Service timely delivering ballots in accordance with its policies in

  place prior to Defendant DeJoy’s recent changes. As things now stand, tens of

  thousands of citizens of Florida will be disenfranchised.

        7.     Compounding the problem, this election is particularly dependent on

  mailed ballots because of the ongoing COVID-19 pandemic. The virus, which is

  easily spread between people through respiratory droplets and close contact, has

  killed nearly a quarter million Americans, and millions of citizens are opting to vote

  by mail rather than in person, in order to avoid the risk of spreading or contracting

  the virus at a polling place or other central location.

        8.     The coronavirus disproportionately threatens elderly and medically

  vulnerable individuals. In addition, the rate of infection and harm caused by the

  coronavirus in the United States has fallen disproportionately on Black, Latino, and

  other racial minority populations.

        9.     For many voters, including those who know or suspect they are

  infected with the virus, those at high risk, and those who live with or are in regular

  contact with those at high risk, voting by mail is the only safe option to exercise

  their right to vote. Healthcare workers and others working essential jobs will choose




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  to vote by mail in order to protect themselves and their coworkers, patients, and the

  broader community.

          10.   An exceptionally large proportion of Americans are thus likely to rely

  on the Postal Service to cast their ballot in the November general election. Yet, the

  politically-motivated Defendant DeJoy has chosen to implement sweeping changes

  to the Postal Service’s election mail policies and broader operations in violation of

  the Postal Service’s statutory duty to give the public a formal opportunity to be

  heard on significant changes to mail service and in violation of its statutory

  obligation to give priority to important letter mail when making policy.

          11.   Defendant DeJoy’s unlawful actions have jeopardized citizens’ right to

  vote.

          12.   In response, States, organizations, and individuals have filed lawsuits

  in federal district courts across the United States, in order to ensure that the policy

  changes do not disrupt the upcoming election. The U.S. District Courts for the

  Eastern District of Washington, the Southern District of New York, the District of

  Columbia, and the Eastern District of Pennsylvania have entered nationwide

  preliminary injunctions preventing Defendant DeJoy’s changes from taking effect,

  requiring the Postal Service to return its operations to the status quo ante, which

  will protect the constitutional right to vote, and require election mail to be

  expedited. Washington v. Trump, No. 1:20-CV-03127-SAB (E.D. Wash. Sep. 17,

  2020); Jones v. United States Postal Service, No. 20 Civ. 6516 (S.D.N.Y. Sep. 21,




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  2020); New York v. Trump, 20 Civ. 2340 (D.D.C. Sep. 27, 2020); Pennsylvania v.

  DeJoy, 2:20 Civ. 4096 (E.D. Pa. Sep. 28, 2020).

        13.     Plaintiff and its members have an interest in the fair administration of

  the upcoming election in Florida. They seek to vote and assist others in voting, and

  they are directly burdened by the Postal Service’s policy changes. In particular,

  Plaintiff and its members work in the healthcare industry and depend on their

  ability to vote by mail. Indeed, many of them will cast ballots by mail. In addition,

  Plaintiff has already and continues to devote resources to voter education and voter

  assistance as a result of the sudden changes in Postal Service policies.

        14.     Without court intervention, Defendant DeJoy’s illegal actions will slow

  mail that all citizens depend upon and threaten to cancel the votes of hundreds of

  thousands of voters in November while undermining the integrity of the election at

  large. These illegal actions will also disenfranchise Plaintiff’s members and

  thousands of other Florida citizens.

        15.     Among other relief, Plaintiff seeks timely information about

  compliance in Florida with the existing injunctions and the decline in delivery times

  for First-Class mail in Florida, so that healthcare worker members and other voters

  can make informed decisions about whether they can rely upon vote-by-mail

  procedures.

                            JURISDICTION AND VENUE

        16.     This Court has jurisdiction of this action pursuant to 28 U.S.C. § 1331,

  28 U.S.C. § 1339, 28 U.S.C. § 1343, 39 U.S.C. § 409, and the Constitution of the

  United States.
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         17.       The Court is authorized to award the requested declaratory relief by 28

  U.S.C. §§ 2201.

         18.       The Court is authorized to award the requested injunctive relief by the

  Constitution, 28 U.S.C. § 2202; 28 U.S.C. § 1651; and the Court’s equitable powers.

         19.       The Court is authorized to award attorney’s fees and costs pursuant to

  28 U.S.C. § 2412.

         20.       Venue is proper under 28 U.S.C. § 1391(e) and 39 U.S.C. § 409(b).

  Defendants are the Postal Service and the head of that agency sued in his official

  capacity. A substantial part of the events and omissions giving rise to the claims

  occurred in this judicial district. Many of Plaintiff’s members, on whose behalf

  Plaintiff brings this action, reside in this judicial district.

                                           PARTIES

         21.       Plaintiff 1199SEIU UNITED HEALTHCARE WORKERS EAST

  (“1199SEIU”) is the largest local union of healthcare workers in the nation, with

  more than 450,000 members in Florida, Massachusetts, New York, New Jersey,

  Maryland, and Washington, D.C. Since its founding in 1932, 1199SEIU has

  championed equality, justice, and democracy. With more than 26,000 healthcare

  workers and 10,000 retiree members in Florida, 1199SEIU and its members expend

  considerable resources on voter education and engagement, in order to ensure that

  its members and other citizens of Florida have the opportunity to exercise their

  right to vote.

         22.       As healthcare workers serving on the front lines of our response to the

  COVID-19 pandemic, members of 1199SEIU are especially reliant on their ability to
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  cast ballots by mail. In addition, 1199SEIU has had to divert and expend

  substantial resources attempting to adapt to the delays in the delivery of election

  mail discussed in this complaint.

        23.    Defendant LOUIS DEJOY is the Postmaster General of the United

  States and Chief Executive Officer of the UNITED STATES POSTAL SERVICE.

  DeJoy was appointed by the Board of Governors of the Postal Service in June 2020.

        24.    Defendant UNITED STATES POSTAL SERVICE is an independent

  establishment of the executive branch of the government of the United States. 39

  U.S.C. § 201. USPS is charged by statute with establishing “policies for postal

  services” that “shall give the highest consideration to the requirement for the most

  expeditious collection, transportation, and delivery of important letter mail.” 39

  U.S.C. § 101(e).

                                           FACTS

  I.    THE ESSENTIAL ROLE OF THE U.S. POSTAL SERVICE IN
        ELECTIONS

        25.    The Postal Service dates to before the Declaration of Independence

  when, in 1775, the Second Continental Congress established the United States Post

  Office with Benjamin Franklin as its first Postmaster General. In 1792, the

  Congress created the U.S. Post Office Department, the direct predecessor of the

  current Postal Service. U.S. Const. art. I, sec. 8, cl. 7. Since its founding, the Postal

  Service has been intimately connected with the governance and democratic

  processes of the nation.




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         26.     Congress has reorganized the Postal Service several times since, most

  prominently by the Post Office Act of 1872, which created the contemporary U.S.

  Postal Service, removing it from the cabinet and establishing it as an independent

  agency. The 1970 Postal Reorganization Act reaffirmed the historic role and

  function of the Postal Service “to provide postal services to bind the Nation together

  through the personal, educational, literary, and business correspondence of the

  people.” 39 U.S.C. § 101(a).

         27.     The Post Office has played an integral part in American elections since

  at least the Civil War, when soldiers fighting in the Union army voted in their home

  state elections using absentee ballots.1 During the First and Second World Wars,

  nearly all states allowed service members abroad to cast their ballots by mail.

         28.     For more than a century, states have likewise relied on the Postal

  Service to allow all manner of citizens—service members and civilians alike—to

  cast their ballots when they are physically unable to go to the polls on Election Day,

  whether due to travel, illness, disability, or for other reasons.2

         29.     Today, all 50 states allow absentee voting by mail. Every one of them

  relies on the Postal Service to ensure that their citizens’ ballots are delivered in

  time to be counted in accordance with state law.




         1   See David A. Collins, Absentee Soldier Voting in Civil War Law and Politics (2014),
  https://digitalcommons.wayne.edu/cgi/viewcontent.cgi?article=2042&context=oa_dissertations
           2 See P. Orman Ray, Absent Voters, AM. POL. SCI. REV. 8:442–445 (1914),

  https://www.jstor.org/stable/1946177?seq=1#metadata_info_tab_contents; History of Absentee Voting
  in the State Constitution of Connecticut, https://www.cga.ct.gov/2012/rpt/2012-R-0379.htm.

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         30.    Since the 1980s, a growing number of states have given their citizens

  the option to vote by mail for any reason, without the need for a specific

  justification. Today, 34 states and the District of Columbia offer their citizens the

  option of “no excuse” absentee voting and some have chosen to make mail voting the

  default means of casting a ballot.

         31.    In every jurisdiction in the United States, the Postal Service is thus an

  integral part of the voting infrastructure. It is as essential to the proper functioning

  of our nation’s democracy as poll workers and voting machines.

         32.    Because of the Postal Service’s essential role in elections, problems

  with mail delivery can jeopardize the individual right to vote and the overall

  integrity of elections.

  II.    THE LONGSTANDING POSTAL SERVICE POLICY OF GIVING
         SPECIAL TREATMENT TO ELECTION MAIL

         33.    The Postal Service, as a matter of policy and consistent with

  congressional directives, has long given special treatment to election mail to ensure

  its timely delivery. This complied with the Postal Service’s statutory obligation to

  make policies that “give the highest consideration to the requirement for the most

  expeditious collection, transportation, and delivery of important letter mail.” 39

  U.S.C. § 101(e).

         34.    Congress has also recognized the Postal Service’s crucial role in

  facilitating voting by enacting laws requiring the Postal Service to facilitate the

  right to vote by mail in state-run elections. An example is the Uniformed and

  Overseas Citizens Absentee Voting Act of 1986, which requires the Postal Service to


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  “carr[y] expeditiously and free of postage” any “balloting materials” between such

  voters and their state election officials. It also allows the Postal Service to increase

  rates on other postage-paid mail to compensate for the cost of providing this

  essential election service without charge. 39 U.S.C. §§ 3406, 3627.

        35.       The importance of election mail is reflected in numerous other federal

  statutes as well. The National Voter Registration Act, for example, permits voters to

  register by mail and requires the Postal Service to deliver registration materials at

  reduced rates because the “right of citizens of the United States to vote is a

  fundamental right” and the government has a “duty . . . to promote the exercise of

  that right.” 39 U.S.C. § 3629; 52 U.S.C. §§ 20501, 20501.

        36.       In recognition of its obligation to institute policies that promote

  expeditious handling of election mail, which is undeniably “important letter mail,”

  within the meaning of 39 U.S.C. § 101(e), the Postal Service has had a longstanding

  policy of affording special treatment to election mail so that it is delivered in a

  timely fashion regardless of the amount of postage paid.

        37.       To prioritize election mail, it must be identifiable, and for that reason

  the Postal Service has developed special tools to identify election mail and to

  improve its visibility. Customized Service Type Identifiers are used for ballots,3 and

  a green container tag (Tag 191) is used to designated trays and sacks of ballot mail.4

  Additionally, an “Official Election Mail” logo “serves to identify Official Election




        3   Available at https://postalpro.usps.com/node/8463.
        4   Available at https://about.usps.com/kits/kit600/kit600_online_015.htm.

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  Mail for Postal Service workers and distinguish it from the thousands of other

  pieces of mail that are processed daily.”5

         38.    Once election mail is identified, the Postal Service’s express policy has

  been to treat it as First-Class mail even if a lower class of postage—or no postage at

  all—was paid.

         39.    An official Postal Bulletin published in 2014 explicitly states, in bold

  type, “[S]hort-paid and unpaid absentee balloting materials must never be

  returned to the voter for additional postage. Postage is collected from the

  election office upon delivery or at a later date.” U.S. Postal Service, Postal

  Bulletin 22391, Requirements and Tips for Handling Official Election Mail and

  Political Campaign Mail (June 12, 2014).6

         40.    A subsequent Q&A in the same Postal Bulletin is even more explicit

  that election mail should be sped along to its destination, even if sent with

  insufficient postage:

         If ballots are found in the mailstream without postage or with insufficient
         postage, should the normal procedures for short-paid mail be followed?

         No. Short-paid and unpaid absentee balloting materials must never be
         returned to the voter for additional postage. Postage is collected from the
         election office upon delivery or at a later date.

  Id. The bottom-line instruction to postal workers on this topic was, “Do not delay

  delivery of balloting materials.” Id.




         5  Available at https://about.usps.com/publications/pub631.pdf.
         6  Available
  at:https://about.usps.com/postalbulletin/2014/pb22391/html/cover_003.htm#ep1381326.

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         41.     This longstanding policy of taking special measures to ensure the

  delivery of election mail has been acknowledged by the Postal Service’s Inspector

  General, who concluded last year that treatment of election mail as First-Class “was

  how this mail was generally handled.” Office of Inspector General, United States

  Postal Service, “Audit Report: Service Performance of Election and Political Mail

  During the 2018 Midterm and Special Elections” at 7 (Nov. 4, 2019).7

         42.     The policy of special treatment for election mail has also been relied

  upon for years by state election officials and by courts and litigants.

         43.     For example, in the settlement agreement reached earlier this year

  between the Florida election officials and the consolidated plaintiffs in Nielsen v.

  DeSantis in the U.S. District Court for the Northern District of Florida, the Florida

  Secretary of State agreed to direct county election supervisors “to instruct voters

  who call seeking additional [mail-in ballot] delivery options as follows: (a) If you

  cannot afford a stamp, then you can still place your vote-by-mail ballot in the mail

  for delivery because the U.S. Postal Service treats such ballots as first class mail.”

  Resolution of Claims ¶ 2, Nielsen v. DeSantis, No. 4:20-cv-236 (N.D. Fla. July 20,

  2020) (ECF No. 601-1).

         44.     Similarly, in litigation earlier this year challenging the requirement to

  affix postage to absentee ballots as an unconstitutional poll tax, the Georgia

  Secretary of State relied on this USPS policy to argue that no postage was in fact




         7  Available at https://www.uspsoig.gov/sites/default/files/document-library-
  files/2019/19XG010NO000.pdf at 7.

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  required. See Black Voters Matter Fund v. Raffensperger, No. 1:20-CV-01489-AT,

  2020 WL 4597053, at *26 (N.D. Ga. Aug. 11, 2020).

        45.    In addition, in the days leading up to an election, the Postal Service

  has historically made special efforts to identify election mail to ensure it arrives in

  time to be counted. Such efforts have included expediting election mail even ahead

  of First-Class mail.

        46.    This policy commitment to give special treatment to election mail

  follows directly from the Postal Service’s essential role as an integral part of each

  state’s election system. The Postal Service is not merely a third-party service

  provider that happens to transport ballots on behalf of voters. It is an essential

  government service with a statutory obligation and longstanding policy

  commitment to take all feasible steps to ensure that voters’ ballots are counted

  when they are cast by mail.

        47.    The Postal Service’s policy of taking special measures such as treating

  election mail as First-Class or better regardless of postage paid has been critical to

  ensuring that nearly all election mail is delivered on time. The Inspector General

  explained in an analysis of election-mail delivery during the 2018 midterm election

  that “the Postal Service’s nationwide service performance score for Election and

  Political Mail was 95.6 percent, or slightly below its goal of 96 percent.” Office of

  Inspector General, United States Postal Service, “Audit Report: Service

  Performance of Election and Political Mail During the 2018 Midterm and Special




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  Elections” at 1 (Nov. 4, 2019).8 The large majority of facilities handling high

  volumes of election mail “averaged 98.3 percent on-time performance.” Id.

  III.   DEFENDANT DEJOY’S SWEEPING POLICY CHANGES

         A.      Changes To Election Mail Policies

         48.     Despite the Postal Service’s key role in our nation’s elections, it has

  recently and unlawfully changed its policies governing election mail and it has

  made other nationwide changes to mail services that, separately and together, will

  delay the delivery of ballots and will result in large numbers of ballots being

  discarded because they will arrive after state deadlines.

         49.     In official statements in May 2020, the Postal Service has stated that,

  contrary to its longstanding policy, it will treat election mail as belonging to the

  class of mail for which postage has been paid. Thus, for example, instead of treating

  all ballots as First-Class mail (or better) and delivering those ballots to and from

  voters under the previous 2-3 day service standard, the new policies treat election

  mail according to the postage paid and pursuant to a much slower service standard.

  The new policies state that, because of this new and slower treatment, election mail

  may not reach or be returned by voters in time to meet deadlines set by state law.

         50.     The Postal Service appears to have first published this policy on May

  29, 2020, when USPS General Counsel Thomas Marshall issued a letter to

  approximately 11,500 election officials and state political party officials making the




         8  Available at https://www.uspsoig.gov/sites/default/files/document-library-
  files/2019/19XG010NO000.pdf.

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  election mail policy explicit. See Letter from Thomas Marshall Re: Election Mail

  (May 29, 2020) (“May Letter”).9

         51.     The May Letter acknowledges “that many voters will choose to use the

  mail to participate in upcoming elections, including the 2020 General Election in

  November” because of “the impacts of the COVID-19 pandemic.” Id. Nevertheless,

  the May Letter states that USPS will do no more than adhere to its ordinary service

  standards. It explains that “[t]he two main classes of mail that are used for Election

  Mail are First-Class Mail and USPS Marketing Mail, the latter of which includes

  the Nonprofit postage rate.” Id. The letter articulates the ordinary service

  standards for each class of mail: “It is important to note that First-Class Mail and

  Marketing Mail have different delivery standards, and that delivery times further

  depend on the origin and destination of a given mailpiece. Most domestic First-

  Class Mail is delivered in 2-5 days. Most domestic Marketing Mail is delivered in 3-

  10 days.” Id. The letter then emphasizes that the Postal Service will not give any

  special treatment to election mail: “However, the Postal Service cannot guarantee a

  specific delivery date or alter standards to comport with individual state election

  laws.” Id. (emphasis added).

         52.     The May Letter explicitly acknowledges that some voters will be

  disenfranchised because their ballots will be delivered after Election Day, even if


         9  Available here: https://about.usps.com/newsroom/national-releases/2020/2020-05-29-
  marshall-to-election-officials-re-election-mail.pdf. The figures about the number of recipients come
  from a subsequent letter that Mr. Marshall submitted on August 11, 2020, to Congressperson
  Maloney, chair of the House Oversight and Reform Committee, available here:
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/documents/USPS%20to%20COR
  %2008-11-20%20re%20Election%20Prep.pdf.


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  the voter complies with all state deadlines for requesting and submitting ballots:

  “[V]oters should be aware of the possibility that completed ballots mailed less than

  a week before [Election Day] may not, in fact, arrive by the state’s deadline.”

         53.     Between July 29 and 31, 2020, the Postal Service’s General Counsel

  sent individualized letters to the chief election officers in 46 states. These letters

  reiterated the Postal Service’s new policy of insisting on the postage paid and

  disavowing any special treatment of ballots.

         54.    The Postal Service’s letter to Florida Secretary of State Laurel Lee,

  dated July 29, 2020, reiterated that election mail will only be processed in

  accordance with delivery standards for ordinary mail: “While the specific transit

  times for either class of mail cannot be guaranteed, and depend on factors such as a

  given mailpiece's place of origin and destination, most domestic First-Class Mail is

  delivered 2-5 days after it is received by the Postal Service, and most domestic

  Marketing Mail is delivered 3-10 days after it is received.” See Letter from Thomas

  Marshall to Secretary Laurel Lee (July 29, 2020) (“July Letter”).10

         55.    As in 32 other states, ballots in Florida will not be counted if they are

  not received by election officials by Election Day. Even if a Florida voter mails their

  ballot well before Election Day, and even if the ballot otherwise complies with all of

  the state’s requirements, the ballot will not be counted, and the voter will be

  disenfranchised, if the Postal Service does not timely deliver the ballot.



         10Available at p.11 of this PDF: https://context-
  cdn.washingtonpost.com/notes/prod/default/documents/d1b752f9-f8c9-4c18-b548-
  4eb9668c672a/note/36253644-7029-4dd3-bd1c-f824054400c2.

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          56.     The July Letter forthrightly admitted the Postal Service would not

  deliver some ballots in time to be counted under Florida’s election laws because,

  under these ordinary mail delivery standards, there is not enough time for a blank

  ballot to be mailed to a voter and returned unless a voter requests their ballot well

  before the state’s deadline for requesting one.11

          57.     The July Letter specifically identified Florida’s 10-day cutoff for

  requesting absentee ballots—and its 8-day deadline for election supervisors to mail

  out blank absentee ballots—as creating a “significant risk that the voter will not

  have sufficient time to complete and mail the completed ballot back to election

  officials in time for it to arrive by the state’s return deadline.” Id.

          58.     In other words, the Postal Service has acknowledged that its

  adherence to its new policies will result in additional ballots being rejected as

  untimely even though voters complied with all state deadlines.

          59.     The May Letter and the July Letter disavow the Postal Service’s

  longstanding policy of taking special measures to expedite ballots, upgrade postage

  on ballots, and deliver ballots speedily despite insufficient postage.

          60.     In response to public outcry, the USPS has made statements

  suggesting it will devote “excess” First-Class capacity to Election Mail, but these

  pledges are hollow. In recent months, the Postal Service has dramatically reduced



          11“Under our reading of your state's election laws, as in effect on July 27, 2020, certain state-
  law requirements and deadlines appear to be incompatible with the Postal Service's delivery
  standards and the recommended timeframe noted above. As a result, to the extent that the mail is
  used to transmit ballots to and from voters, there is a significant risk that, at least in certain
  circumstances, ballots may be requested in a manner that is consistent with your election rules and
  returned promptly, and yet not be returned in time to be counted.” Id.

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  First-Class capacity by decommissioning sorting machines and has directed trucks

  to leave on time even when fully or partially empty. Defendant DeJoy has not

  affirmed prior policy or issued any guidance to postal workers pertaining to the

  2020 general election to ensure that as many ballots as possible are delivered in

  time to be counted, irrespective of the ordinary service standards that USPS targets

  for other letter mail.

         B.     Other Policy Changes Slowing the Mail

         61.    In addition to changing the Postal Service’s policies regarding election

  mail, Defendant DeJoy unlawfully implemented additional new policies that have

  upended the normal operations of the Postal Service nationwide. Those changes

  have had the effect of slowing mail delivery across the country in advance of the

  election, further jeopardizing the votes of those who vote by mail and undermining

  the integrity of the election.

         62.    Defendant DeJoy assumed his current position as Postmaster General

  on June 15, 2020. Within weeks, he oversaw sweeping changes to Postal Service

  operational policies, some of which Defendant DeJoy has admitted were

  implemented at his explicit direction.

         63.    On July 10, 2020, frontline postal workers were briefed on a number of

  the major changes. A memo entitled “Mandatory Stand Up Talk: All Employees”

  explained that “late trips [of trucks or delivery vehicles] are no longer authorized or

  accepted” and that no “additional transportation will be authorized.” The memo

  stated that no second trips would be permitted by mail carriers to transport



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  additional mail. The memo warned that “one aspect of these changes that may be

  difficult for employees is that—temporarily—we may see mail left behind or mail on

  the workroom floor or docks (in [Processing & Distribution Centers]), which is not

  typical.”

         64.   Moreover, workers were also told that the trucks had to leave on

  time—even five minutes early—whether the mail was yet loaded on the trucks or

  not.

         65.   This “leave mail behind” policy departed from the longstanding policy

  of the Postal Service, which was to transport all mail on a daily basis, even if it

  meant holding trucks for some amount of time to load all the day’s mail, and even if

  it meant conducting a second trip in a single day.

         66.   The policy has resulted in substantial delays in the delivery of mail.

  For example, some mail trucks have departed empty and mail left behind has

  accumulated at massive processing centers, creating backlogs in a system that is

  not designed to store mail. In addition, because of the pile up, shipments have been

  turned away because facilities have no space to process them.

         67.   Another memo issued on or around the same day, entitled “New PMG’s

  Expectations and Plans,” stated that the “agency will prohibit overtime and strictly

  curtail the use of other measures local postmasters use to ameliorate staffing

  shortages.” This “no overtime” policy departed from the longstanding practice of

  USPS, which relied on significant overtime in order to attempt to deliver the mail

  within established service standards.



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         68.    The elimination of overtime has also created substantial delays in the

  delivery of mail, as USPS relied on overtime pay to ensure that mail was timely

  delivered. The elimination of overtime was particularly damaging given the fact

  that USPS was already suffering from staffing shortages due to COVID-19.

         69.    On August 5, 2020, Defendant DeJoy met with congressional

  leadership to discuss dramatic increases in delayed and undelivered mail. During

  that meeting, he admitted that he had instituted policy changes shortly after

  assuming his position, including reductions in overtime, elimination of mail

  transportation trips, implementation of new mail sorting and delivery policies, and

  reduction in mail sorting equipment.12

         70.    In mid-August, news reports nationwide disclosed that the Postal

  Service was scrapping a large number of its high-throughput mail sorting machines

  from processing facilities across the country. The Washington Post reported that a

  union grievance filed against the Postal Service stated that plans were to

  decommission 671 sorting machines, approximately 10% of the total nationwide.

  USPS has since stated in court filings that it has in fact removed 711 machines,

  which is double the number it has typically removed in a typical recent year. In

  Florida, 59 sorting machines were removed—more than any other place in the

  country except for California.

         71.    Some processing facilities have been left with only a single sorting

  machine, meaning that mail is significantly delayed if that machine happens to


         12 Letter from Congresswoman Pelosi and Senator Schumer to Defendant DeJoy dated
  August 6, 2020.

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  malfunction and requires service. Postal workers have expressed serious concerns

  that the reduction in sorting capacity will slow down mail delivery.

        72.    In response to public outcry and congressional hearings, Defendant

  DeJoy released an official statement on August 18, 2020, stating that no additional

  mail processing equipment would be removed, that no facilities would be closed, and

  that overtime would be “approved as needed.” The statement also stated that the

  Postal Service would “engage standby resources” as of October 1 “to satisfy any

  unforeseen demand.”

        73.    Defendant DeJoy’s August 18, 2020 statement did not acknowledge

  that more than 700 sorting machines had already been decommissioned and did not

  address the “leave mail behind” policy.

        74.    In subsequent testimony before House and Senate oversight

  committees, Defendant DeJoy acknowledged that the changes implemented at the

  Postal Service had resulted in significantly slowed service and substantial delays in

  delivery of First-Class mail.

        75.    USPS has also since asserted that many decommissioned sorting

  machines were disassembled and cannot be replaced.

        76.    Moreover, the changes that Defendant DeJoy enacted, and which have

  slowed down mail delivery, are not limited to leaving mail behind, curtailing

  overtime pay and decommissioning sorting machines, as described above. In

  addition, the USPS also removed mailboxes and reduced operating hours, further




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  exacerbating the problem. For example, USPS announced that post offices in many

  States, including in Florida, would have reduced hours.

  IV.   THE EFFECT OF DEJOY’S NEW POLICIES ON MAIL VOTING IN
        THE UNITED STATES

        77.    By taking these steps, Defendants have endangered the integrity of the

  vote in the November general election and have put at risk the ballots of hundreds

  of thousands of individuals, including tens of thousands in Florida, who will rely on

  the mail to cast their ballots.

        78.    The speed and accuracy with which the Postal Service delivers

  completed ballots will determine the fate of voters’ ballots. Anything less than the

  most expeditious and diligent delivery of completed ballots means that voters who

  would otherwise have cast a ballot will lose their vote on account of the Postal

  Service's delay.

        79.    As a result of Defendants’ policy changes, people across the country

  have reported extraordinary delays in delivery of all U.S. Mail, including medicines,

  social security checks, and other essential mail.

        80.    In addition, the policy changes discussed above have and will continue

  to have a tremendous effect on election mail specifically.

        81.    In the November 2018 General Election—before the COVID-19

  pandemic—23.1% of all ballots comprising 28 million votes were cast by mail.

        82.    The sheer number and proportion of citizens voting by mail means that

  even a relatively small degradation in the Postal Service’s treatment of election

  mail can have a major impact on the results of an election. The Postal Service’s


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  diligence and speed are thus not only a matter of concern to individual voters but

  also to the public's confidence in our electoral system.

         83.     The Postal Service is obligated by law to enact regulations establishing

  service standards for each class of mail. The Postal Service’s performance standard

  for 2-day First-Class mail is 96.5%.13

         84.     As discussed above, the Postal Service’s policy of giving special

  treatment to election mail including treating it as First-Class mail has been critical

  to ensuring the on-time delivery of election mail.

         85.     With the policy changes that Defendant DeJoy enacted, the Postal

  Service cannot meet its standards for on-time delivery.

         86.     The share of First-Class mail that was delivered on time across the

  United States fell by more than nine percentage points after Defendant DeJoy

  implemented his policy changes. According to agency data analyzed and reported by

  Senator Gary Peters in “Failure to Deliver: Harm Caused by U.S. Postmaster

  General DeJoy’s Changes to Postal Service Mail Delivery,” in the first full week of

  July, before Defendant DeJoy enacted his new policies, 90.6% of First-Class mail

  was on time; in the second week of August, after the changes had taken effect, that

  number dropped to 81.5%.

         87.     Senator Peters’ investigation found that 350 million pieces of First-

  Class mail—nearly 7% of the nation’s total First-Class mail—were delayed in the



         13 First-Class mail has a 2-day service standard if the origin and destination are served by
  processing and distribution facilities that are within a 6-hour drive from one another. 3, 4, and 5-day
  service standards apply to mail traveling longer distances. See 39 C.F.R. § 121.1.

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  five weeks after Defendant DeJoy’s changes were implemented. 85 million pieces of

  First-Class mail were delayed in their delivery in the second week of August alone.

        88.    Without special treatment of election mail, approximately 1 out of

  every 5 ballots will not be timely delivered.

        89.    The effects of the Postal Service’s policy and operational changes will

  be felt most acutely in states that have a strict Election Day deadline for ballots to

  be received, such as Florida.

        90.    Florida voters, in particular, stand to suffer from these changes

  because Florida law allows voters to request ballots up until ten days before

  Election Day and allows election supervisors to wait until eight days before Election

  Day to mail out blank ballots. Under the Postal Service’s prior policies, this did not

  prevent ballots from being returned in time to be counted.

        91.    But because after Defendant DeJoy’s policy changes the Postal Service

  is now frequently missing its 2-day or 3-5-day targets, many Florida voters will not

  have sufficient time to receive their ballot, complete it, and send it back in time to

  be delivered by Election Day.

        92.    In addition, the planned and ongoing removal of sorting machines in

  Florida alone will result in a loss of sorting capacity of 200,000 to 300,000 pieces of

  mail per hour.

        93.    These policy changes affect voters disproportionately depending on

  where they live. For example, in Southern Florida, the most recent available

  statistics, from the week of September 12, 2020, demonstrate that the on-time



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  delivery of mail is currently approximately 86.9%, compared with a rate of 89% in

  Florida’s Suncoast and 87.1% in the Gulf Atlantic region, which encompasses the

  northern part of the state.

         94.    Defendant DeJoy’s policy changes and their resulting delays operate,

  in effect, as a trap for the unwary: individuals who fully comply with state laws,

  diligently mail their ballots, and rely on the Postal Service’s posted delivery

  commitments will be disenfranchised because of the Postal Service’s sweeping

  election-eve policy changes.

  V.     THE PANDEMIC EXACERBATES THE HARM CAUSED BY DEJOY’S
         POLICY CHANGES

         95.    Defendant DeJoy’s changes to Postal Service policies are even more

  consequential to the upcoming election in light of the COVID-19 pandemic, which

  has dramatically increased the proportion of voters opting to vote by mail.

         96.    COVID-19 is a deadly respiratory disease that is spread through the

  air when an infected person coughs, sneezes, or talks in proximity to others. Initial

  research suggests that the risk of infection is higher indoors, in places with poor

  ventilation, and in places where larger numbers of people congregate together or in

  close succession.

         97.    More than 6.5 million people in the United States have contracted

  COVID-19. More than 200,000 people have died. Many more have suffered grave,

  debilitating illness.

         98.    Certain groups of people are at higher risk for severe complications

  and death from COVID-19, including older adults and those suffering from cancer,


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  chronic kidney disease, pulmonary disease, obesity, serious heart conditions, sickle

  cell disease, diabetes, and immunocompromised people, among others.

        99.    COVID-19 has had a particularly harmful impact on racial minorities.

  Black and Latino people are disproportionately represented in essential work

  settings, are more likely to live in multigenerational families, and have higher rates

  of COVID-19 infection compared to White people. Age-adjusted hospitalization rates

  are roughly five times higher for racial minorities, and Black and Latino adults are

  dying from COVID-19 at more than 2.4 times and 1.5 times (respectively) the rate of

  White people.

        100.   In Florida, too, the pandemic has disproportionately impacted racial

  minorities. The age-adjusted death rate in Florida is higher for every category of

  racial minority. For Black people, it is more than three times higher, and for

  Latinos it is more than two times higher.

        101.   Because of the increased risk of contracting and dying from COVID-19,

  elderly and medically vulnerable populations in Florida, as well as Black, Latino,

  and other racial minority populations, are less likely to vote in person and more

  likely to rely on voting by mail.

        102.   At present, Florida has had more COVID-19 cases and deaths in

  absolute numbers and per capita than most states in the nation. Nearly 700,000

  Floridians have contracted COVID-19 and more than 13,000 have died. In recent

  weeks, between 2,000 and 4,000 Floridians per day have been diagnosed with

  COVID-19. Florida also has a disproportionate share of high-risk individuals, with



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  significantly more residents and voters above 65 years of age than the country as a

  whole.

           103.   Polling sites and early voting locations are places where there is an

  elevated risk of transmission of COVID-19 due to the larger number of people

  congregating or passing through such facilities and the increased likelihood for viral

  spread indoors.

           104.   Voters who are at higher risk for serious complications of COVID-19,

  or who live, work or otherwise come into close contact with vulnerable people, may

  not be willing to take the chance of contracting COVID-19 by coming to the polls or

  to an early-voting location.

           105.   Voters who are infected with COVID-19 or who have been exposed or

  who may be infected should not vote in-person in order to avoid further spreading

  the virus. Some voters will be subject to mandatory self-quarantine or similar

  measures that leave them with no legal (or responsible) option other than voting by

  mail.

           106.   Voting by mail is the safest option for voters concerned about

  contracting or spreading COVID-19 because it can typically be accomplished

  without coming within six feet of any other person, and it does not require

  attending a particular physical location frequented by others. Public health experts

  recommend voting by absentee ballot as the best method to vote in order to avoid

  contracting or spreading the virus.




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        107.   COVID-19 also makes voting in person on Election Day or at in-person

  early voting locations more difficult. Public health precautions and shortages of

  experienced poll workers—many of whom were senior citizens who are now

  unwilling to risk infection at the polls—have slowed ordinary in-person voting

  procedures, leading to long lines and uncertainty at the polls.

        108.   The COVID-19 pandemic has thus had a massive effect on voting

  patterns, vastly increasing the share of voters who have chosen to vote using

  absentee ballots.

        109.   Indeed, there have been dozens of statewide elections since the

  pandemic began. In all or nearly all of those elections, the percentage of individuals

  voting absentee has increased dramatically, often increasing from single-digit or

  low-teens to well over 50%.

        110.   In Florida’s most recent primary election, held on August 18, 2020, the

  number of vote-by-mail ballots has vastly outpaced prior years, with more than 2.1

  million votes cast by mail, compared with only 1.35 million and 1.28 million in the

  2018 and 2016 primaries, respectively.

        111.   The number and proportion of voters voting by mail in the November

  general election is expected to be even higher.

        112.   The increase in the share of mailed ballots means that there are many

  people who are voting by mail for the first time. Such voters are unfamiliar with

  vote-by-mail procedures and are much more likely to have their ballots rejected for

  technical reasons—for example because they sent their ballot close to the election



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  (as provided by state law) but it arrived after Election Day (and is thus rejected

  under state law).

         113.     A nationwide study of mail-in ballots during the 2020 primary season

  counted more than 550,000 mail-in ballots that had been rejected nationwide.

         114.     In states such as Florida, where absentee ballots must be received by

  Election Day, one of the most common reasons absentee ballots are rejected is that

  the Postal Service simply does not deliver the ballot to election officials in time to

  count it.

         115.     That the Postal Service is likely to deliver election mail after Florida’s

  election-night deadline is readily apparent by the Postal Service’s concerning

  performance during Florida’s 2020 primary elections:

              •   According to a study conducted by the Stanford-MIT Healthy Elections

                  Project, during Florida’s March 17, 2020 presidential primary, Florida

                  rejected 18,504 vote-by-mail (“VBM”) ballots—1.34% of all VBM ballots

                  cast. The study notes that late delivery was a “major cause” of their

                  disqualification.14

              •   The problem got worse during Florida's August 18, 2020 primary

                  election. According to reporting, more than 35,500 VBM ballots were

                  rejected, amounting to 1.5% of the total vote. According to expert



         14 Diana Cao, Florida Election Analysis 15, HEALTHYELECTIONS.ORG (June 24, 2020), available
  at: https://healthyelections.org/sites/default/files/2020-09/Florida%20Election%20Memo.pdf. The
  study notes that its source of relevant data “did not contain information about why these mail
  ballots were unsuccessful; however, they appear to be due to two major causes: ballots that were
  returned on time but had a defect that prevented them from being counted, and ballots that arrived
  after 7:00 p.m. on Election Day.”

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                   analysis, of those rejected, nearly 66% were disqualified because they

                   were late.

               •   Absentee ballot rejections were not evenly or proportionately

                   distributed across the state. A single county—Miami-Dade—accounted

                   for close to one quarter of VBM ballots that were tossed out statewide,

                   most of which were received after the deadline or without a

                   signature.15

               •   In the same primary, almost 1,300 VBM ballots were not delivered in

                   time to be counted in Volusia County—more than double that of the

                   2018 and 2016 primaries.16

               •   In addition, during the same August 2020 primary, news reporting

                   noted the following: (a) Roughly 700 Manatee County primary VBM

                   ballots were not counted because they arrived after the 7 p.m.

                   deadline;17 (b) Sarasota County had 574 VBM ballots that arrived after

                   the primary deadline and were not counted;18 (c) Orange County

                   received 1,299 VBM ballots late, including 114 that were postmarked




          15 Marc Caputo, Gary Fineout, More than 35,000 mail-in ballots were rejected in Florida
  primary, POLITICO (Sept. 17, 2020), https://www.politico.com/states/florida/story/2020/09/17/more-
  than-35-000-mail-in-ballots-were-rejected-in-florida-primary-1317327
          16 Nicole Griffin, Nearly 1,300 Mail-In Ballots Arrived After Election Day in Volusia, SPECTRUM

  NEWS 13 (Sept. 1, 2020), https://www.mynews13.com/fl/orlando/2020-elections/2020/09/01/more-than-
  1000-mail-in-ballots-not-counted-in-volusia-county
          17 Zac Anderson, Florida voters request nearly 4.6 million mail ballots; elections officials urge

  prompt action, SARASOTA HERALD-TRIBUNE (Sept. 19, 2020),
  https://www.heraldtribune.com/story/news/2020/09/18/florida-send-out-4-5-million-absentee-ballots-
  general-election-and-officials-urging-voters-mail-them/3483957001/
          18 Id.


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                  before election day;19 (d) Lake County officials estimated there were

                  500 to 600 VBM ballots received after the deadline;20 and (e) in Flagler

                  County, where 27,073 primary ballots were cast, 79 VBM ballots

                  arrived late.21

          116.    Historically, this proportion of discarded ballots is well above the

  margin of victory in many Florida elections.

          117.    The likelihood that a ballot will go uncounted falls disproportionately

  on first-time voters, younger voters, and Black and Hispanic voters, diminishing the

  voting power of groups that are already historically underrepresented in elections.

          118.    According to a study published by the Stanford-MIT Healthy Elections

  Project, voters in the 18–29 age group were more than twice as likely to have their

  mail-in ballot go uncounted. Black and Hispanic voters were twice as likely to have

  their ballots not accepted for counting, as compared with non-Hispanic white voters.

  See Diana Cao, Florida Election Analysis (June 24, 2020).22

          119.    The number and proportion of mail-in ballots in the November general

  election is likely to be higher than anything this country has ever seen. That

  combined with strict deadlines by which ballots must be received—even if mailed




          19 Volusia elections chief complains about mail-in ballots that U.S. Post Office didn’t deliver
  on time, ORLANDO SENTINEL (Aug. 28, 2020), http://www.orlandosentinel.com/politics/2020-
  election/os-ne-2020-primary-ballots-arrive-late-20200828-krd6zmo2p5gfdk7c7ve5t4kmxa-story.html
          20 Id.
          21 Marc Harper, 1,500+ Volusia mail ballots arrived late; Lisa Lewis: 'Upsetting', THE

  DAYTONA BEACH NEWS-JOURNAL (Aug. 28, 2020), https://www.news-
  journalonline.com/story/news/politics/elections/2020/08/27/volusias-lisa-lewis-calls-late-arriving-
  mail-ballots-upsetting/3428765001/
          22 https://healthyelections.org/sites/default/files/2020-06/Florida%20Election%20Memo.pdf.


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  timely by the voter—means that the speed and reliability of the Postal Service will

  directly determine the fate of an unprecedented number and proportion of ballots.

  VI.   DEJOY’S POLICY CHANGES ARE UNLAWFUL

        120.    Defendants implemented the policy changes discussed above illegally.

        121.    A brief explanation of the structure and function of the Postal Service

  is appropriate to understanding why Defendant DeJoy’s actions were unlawful.

        122.    Since 1970, the Postal Service has operated as an independent

  establishment in the executive branch, headed by a Board of Governors. The Board

  of Governors comprises eleven governors, nine of whom are directly appointed by

  the President, with the advice and consent of the Senate following consultation with

  the leadership in both houses of Congress. The nine governors serve staggered

  seven-year terms and may not be removed by the President except for cause. No

  more than five of the nine governors may adhere to the same political party.

        123.    The Postmaster General is appointed directly by the nine governors

  and may be removed by them at will. The Postmaster General serves as Chief

  Executive Officer of the Postal Service and also sits as an additional member of the

  Board of Governors.

        124.    The Deputy Postmaster General is appointed and removed by the

  Senate-confirmed governors, together with the Postmaster General, and sits as the

  final member of the Board of Governors.

        125.    The Board of Governors has delegated authority to the Postmaster

  General to exercise the powers of the Postal Service to the fullest extent permitted

  by statute.
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        126.   Presently, there are only six of nine Senate-confirmed governors, and

  the position of Deputy Postmaster General is vacant. All of the currently serving,

  Senate-confirmed governors were appointed by President Trump.

        127.   The Postal Service is overseen and regulated by the Postal Regulatory

  Commission (“PRC”).

        128.   The PRC has significant authority to review and approve major actions

  of the Postal Service including setting prices, establishing standards and

  performance, and changing policies that affect mail service nationwide.

        129.   While the Postmaster General and Board of Governors have broad

  authority for daily management of the Postal Service, the PRC plays a crucial role

  to ensure that the Postal Service acts in the public interest and according to law.

        130.   To this end, the PRC has significant powers, including the authority to

  conduct public, on-the-record hearings at which an officer of the PRC represents the

  interests of the public; it has authority to issue subpoenas and the power to direct

  the Postal Service to adjust rates; it even has the power to levy fines against the

  Postal Service.

        131.   The PRC comprises five Senate-confirmed appointees removeable only

  for cause, each of whom serves a staggered six-year term. No more than three

  members of the Commission may adhere to the same party.

        132.   The PRC currently has a full complement of five members, two of

  whom were appointed by President Trump.




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        133.   The Postal Reorganization Act of 1970 restricted the authority of the

  Postmaster General and Board of Governors to make changes that would affect

  postal service on a substantial nationwide basis. In particular, it provided that the

  Postmaster General and Board of Governors may not make such policy changes

  without PRC oversight and a full opportunity for the public and its representatives

  to be heard in formal, on-the-record hearings.

        134.   Specifically, 39 U.S.C. § 3661(b) requires that “[w]hen the Postal

  Service determines that there should be a change in the nature of postal services

  which will generally affect service on a nationwide or substantially nationwide

  basis, it shall submit a proposal, within a reasonable time prior to the effective date

  of such proposal, to the Postal Regulatory Commission requesting an advisory

  opinion on the change.”

        135.   In response to any such proposal from the Postal Service, the PRC may

  not issue the advisory opinion required by statute “until an opportunity for hearing

  on the record under section 556 and 557 of the title 5 has been accorded to the

  Postal Service, users of the mail, and an officer of the [PRC] who shall be required

  to represent the interests of the general public.” 39 U.S.C. § 3661(c).

        136.   Congress’s specific command that “users of the mail” must have an

  opportunity to be heard on the record underscores the important role that such

  proceedings play in ensuring that the Postal Service remains directly answerable to

  the public it serves when making nationwide changes.




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        137.   Moreover, the required procedures under 5 U.S.C. §§ 556-557 are the

  most formal, trial-like administrative hearings available under the Administrative

  Procedure Act. At such hearings, the PRC has authority to administer oaths, receive

  testimony and other evidence, preside over examinations and cross-examinations of

  witnesses, take depositions, issue subpoenas, and rule on the admissibility of

  evidence. 5 U.S.C. § 556(c)-(d). The agency's opinion must be based on the

  testimony, exhibits, and other papers filed on the record at the proceeding. 5 U.S.C.

  § 556(e). The PRC has issued regulations laying out comprehensive and exacting

  procedural rules to govern such hearings. 39 C.F.R. §§ 3020.101-.123.

        138.   Following such hearings, the PRC may issue its advisory opinion,

  which “shall be in writing and shall include a certification by each Commissioner

  agreeing with the opinion that in his judgment the opinion conforms to the policies

  established under [Title 39 of the U.S. Code].” 39 U.S.C. § 3661(c). Only then may

  the Postal Service enact its proposed changes.

        139.   Each and every one of the policy changes implemented by Defendant

  DeJoy and discussed in this complaint were imposed without Defendant DeJoy or

  any other member of the Postal Service or Board of Governors filing a proposal with

  the PRC and without seeking the required advisory opinion under 39 U.S.C. § 3661.

  This is the case despite that these policy changes have profound nationwide effect.

        140.   As a result, the Postal Service policy changes implemented by

  Defendant DeJoy—both those affecting the mail generally and those affecting

  election mail in particular—have been adopted in violation of federal law.



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  VII.   PLAINTIFF IS INJURED BY DEJOY’S POLICY CHANGES

         141.   1199SEIU is the largest local union of healthcare workers in the

  nation, with more than 450,000 members in Florida, Massachusetts, New York,

  New Jersey, Maryland, and Washington, D.C. Since its founding in 1932, 1199SEIU

  has championed equality, justice, and democracy. 1199SEIU represents 26,000

  healthcare workers and 10,000 retiree members living throughout the State of

  Florida, including in Miami-Dade, Broward, and Palm Beach counties, and it has an

  office within the Southern District of Florida.

         142.   Members of 1199SEIU suffer direct injuries as a result of Defendants’

  actions. Because 1199SEIU members are hospital and nursing home workers

  serving on the front lines of our response to the COVID-19 pandemic, they are

  especially reliant on their ability to cast ballots by mail. Similarly, 1199SEIU’s

  retiree members, due to their age and other infirmities, rely on their ability to cast

  mail ballots. 1199SEIU brings this lawsuit to vindicate their rights.

         143.   Slow, unreliable, or delayed mail delivery will disenfranchise a large

  number of 1199SEIU members. For many 1199SEIU members, casting a ballot by

  mail is the only safe means to vote. Voting at in-person polling locations or even

  traveling to drop-boxes risks transmission of the virus to or from 1199SEIU

  members, who work in medical settings and directly with vulnerable patients, and

  retirees, whose own disabilities and health conditions prevent them from going into

  public spaces during the pandemic.

         144.   Moreover, 1199SEIU members who have had direct exposure to

  COVID-infected people—or who themselves have tested positive for the virus—may
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  be required to self-quarantine at home for at least fourteen days and thus will have

  no option but to vote by mail. Additionally, 1199SEIU members work long hours,

  including mandatory overtime shifts to cover the shifts of co-workers who are ill or

  required to quarantine, and therefore may not be able to get to a polling place

  during voting hours. 1199SEIU members who intend to vote in person early or on

  Election Day may find themselves unable to do so —and reliant exclusively on the

  mail—if they are exposed to COVID or diagnosed positive in the weeks immediately

  before the election. Those voters are at very high risk of being disenfranchised

  because the Postal Service fails to deliver and return absentee ballots in time to be

  counted.

        145.   1199SEIU retired members, the overwhelming majority of whom are

  over the age of 65 and many of whom also suffer from serious medical conditions or

  live with someone who does, rely on their ability to vote by mail because either they

  are unable to vote in person or because, due to the ongoing pandemic, it is not safe

  for them to do so. Additionally, many retiree members do not drive or do not own

  cars and would have to rely on public transportation to get to polling sites,

  increasing the difficulty of voting in person for retiree members with disabilities

  and heightening the risk of exposure to COVID-19 if they try to vote in person.

        146.   In addition to the injuries suffered by its members, 1199SEIU itself is

  harmed by Defendants’ actions and policies.

        147.   As part of its mission, 1199SEIU expends considerable time, effort, and

  resources encouraging its members and others to vote in national, state, and local



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  elections. 1199SEIU engages in voter registration efforts, door-to-door canvassing,

  issue education, and training on voting methods, among other activities. For

  example, 1199SEIU regularly contacts members to notify them about upcoming

  elections and to educate them about voting mechanics as well as the positions of

  candidates on various issues. 1199SEIU also organizes other assistance necessary

  for its members to cast their ballot, such as providing transportation to polling

  locations and responding to members’ questions about the election.

         148.   As part of these efforts, 1199SEIU expends significant time, resources,

  and effort educating its members and others about the various methods of casting a

  ballot, including voting by mail, and works to make sure that individuals are able to

  cast their votes effectively.

         149.   1199SEIU’s resources come ultimately from dues paid by members of

  the union, many of whom work hard for relatively low pay, but who have

  nonetheless chosen to dedicate part of their pay to supporting the union’s voter

  mobilization work and other voter education activities.

         150.   Because of the coronavirus pandemic and the unique risks faced by its

  members, 1199SEIU has in recent months placed significant emphasis on educating

  and mobilizing members and others around voting by mail. As a result, like other

  Floridians, many 1199SEIU members will be voting by mail for the first time.

  Because voting by mail involves added complexities and risk of error, educating

  voters on mail voting involves considerable expenditure of resources.




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        151.   1199SEIU’s efforts and plans have been and will be seriously disrupted

  by Defendants’ changes to the Postal Service’s policies and operations. Slowed mail

  delivery and the sheer uncertainty regarding the reliability of the Postal Service

  have forced and will force 1199SEIU to divert and expend substantial resources

  attempting to explain these changes to its members and voters.

        152.   These efforts include, for example, expanding efforts to educate voters

  about voting by mail, having follow-up conversations with members and voters

  regarding the new risks and uncertainties of voting by mail, counseling voters about

  how to cancel a vote-by-mail ballot should they wish to vote in person instead,

  monitoring the speed of mail delivery in counties across the state, retraining

  organizers and staff regarding voting methods and the risks of mail voting,

  contacting members with updated information about county-specific hours and

  locations of vote-by-mail drop-boxes, helping members track whether their mail

  ballot has been received by their local supervisor of elections, and redirecting

  resources toward non-mail voting methods, including diverting resources to provide

  personal protective equipment and safe transportation to voters who wish to travel

  to a central drop-box or early voting location rather than mail their ballot.

        153.   These injuries are compounded by the uncertain and constantly

  changing reports regarding the Postal Service’s handling of election mail.

  Defendants have forced 1199SEIU to expend considerable resources to grapple with

  that uncertainty and to prepare a variety of previously-unnecessary contingency

  plans. Moreover, Defendants’ actions have and will outright frustrate 1199SEIU’s



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  efforts to the extent that its work mobilizing members and others to vote safely by

  mail sometimes results in those members’ disenfranchisement because the Postal

  Service delivered their ballots too late to be counted.

  VIII. THE FOUR NATIONWIDE INJUNCTIONS AGAINST THE POSTAL
        SERVICE’S POLICY CHANGES

        154.   In State of Washington, et al. v. Trump, et al., No. 1:20-CV-03127-SAB

  (E.D. Wash.), fourteen States sued the Postal Service over the changes to postal

  operations and the handling of election mail described above. The States’ claims

  include allegations that Defendant DeJoy’s policy changes violated the Postal

  Service’s statutory mandate under 39 U.S.C. § 3661 to hold a hearing and to seek

  an advisory opinion from the Postal Regulatory Commission before implementing

  policy changes that will affect service on a “substantially nationwide basis.” The

  plaintiffs moved for a preliminary injunction to reverse the illegal changes.

        155.   After holding a hearing on the plaintiffs’ motion, the court granted it,

  concluding that the States have demonstrated a substantial likelihood of success on

  their § 3661 claim and meet the other requirements for a grant of preliminary

  injunctive relief. Washington, 2020 WL 5568557 at *6 (E.D. Wash. Sept. 17, 2020).

        156.   The court’s order enjoins the Postal Service on a nationwide basis from

  implementing or enforcing the policy changes that have slowed mail service,

  including “instructing mail carriers to leave mail behind for processing or delivery

  at a later date,” disallowing additional delivery trips and other extra work needed to

  ensure timely mail delivery, and “deviating from the USPS’s long-standing policy of

  treating election mail in accordance with First-Class Mail delivery standards


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  regardless of the paid class.” Id. The order also enjoins any additional removal of

  processing equipment and requires that such equipment be returned to service

  where necessary to meet First-Class mail delivery standards for election mail. Id.

        157.   In Mondaire Jones et al. v. United States Postal Service et al., No. 20-

  CV-6516 (S.D.N.Y.), the plaintiffs, who seek to represent a class of similarly

  situated individuals, are candidates for office and voters from around the country.

  Their suit, in which they bring claims under the Fifth Amendment for equal

  protection violations and under the First Amendment, challenges the same Postal

  Service policy changes described in this complaint and in Washington v. Trump.

        158.   The plaintiffs moved for a preliminary injunction. Following a hearing,

  the court granted their motion in part on Fifth Amendment grounds and,

  alternatively, on First Amendment grounds. Jones, 2020 WL 5627002 at *28

  (S.D.N.Y. Sept. 21, 2020).

        159.   In New York v. Trump, 1:20 Civ. 2340 (D.D.C.), three States, the City

  of New York, and the City and County of San Francisco sued the Postal Service over

  the changes to postal operations and the handling of election mail described above.

  Like the plaintiffs in Washington v. Trump and here, their claims include that these

  changes violated the Postal Service’s statutory mandate under 39 U.S.C. § 3661 and

  would hamper mail-in voting in the upcoming general election. The plaintiffs moved

  for a preliminary injunction.

        160.   The court found that the plaintiffs demonstrated a substantial

  likelihood of success on their § 3661 claim and met the other requirements for a



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  grant of preliminary injunctive relief, and it enjoined the Postal Service on a

  nationwide basis from implementing or enforcing the policy changes that have

  slowed mail service.

        161.   In Pennsylvania v. DeJoy, 2:20 Civ. 4096 (E.D. Pa.), seven States sued

  the Postal Service over the changes to postal operations and the handling of election

  mail described above. Among other things, the lawsuit alleges that Defendant

  DeJoy’s policy changes violated the Postal Service’s statutory mandate under 39

  U.S.C. § 3661. The plaintiffs moved for a preliminary injunction to reverse the

  illegal changes.

        162.   The court ordered expedited discovery, including depositions of two

  Postal Service witnesses. After a hearing was held, which incorporated the

  depositions testimony and the testimony from the injunction hearing in the

  Southern District of New York in Jones, the court entered an injunction. The court

  found that the plaintiffs demonstrated a substantial likelihood of success on their §

  3661 claim and met the other requirements for a grant of preliminary injunctive

  relief, and issued a nationwide injunction mirroring the one entered in Jones and

  thereby enjoining the Postal from implementing or enforcing the policy changes that

  have slowed mail service.




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                                    LEGAL CLAIMS

                                           COUNT I

                    Unauthorized and Unlawful Agency Action

        163.   Plaintiff incorporates by reference each of the paragraphs in this

  Complaint as if restated fully herein.

        164.   Non-statutory judicial review of the Postmaster General’s actions is

  appropriate because Defendants’ actions are ultra vires, in excesses of statutory

  authority, and contrary to statutory command.

        165.   Defendants have implemented policy and operational changes,

  including to the Postal Service’s handling of Election Mail, that have had and will

  continue to have a major effect on the mail delivery service. These changes affect

  service on a nationwide basis.

        166.   Defendants have implemented these policy and operational changes

  without seeking an opinion from the Postal Regulatory Commission, as required by

  law, 39 U.S.C. § 3661(b), and without observing the procedures, including public

  notice and opportunity for comment, to which the public and Plaintiff are entitled, §

  3661(c).

        167.   Defendants’ actions in adopting these policy and operational changes

  are ultra vires and contrary to law.

                                         COUNT II

                      Arbitrary and Capricious Agency Action

        168.   Plaintiff incorporates by reference each of the paragraphs in this

  Complaint as if restated fully herein.

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        169.   Non-statutory judicial review of the Postmaster General’s actions is

  appropriate given that Defendants’ actions are arbitrary and capricious and

  contrary to statutory command.

        170.   Defendants have implemented policy and operational changes,

  including to the Postal Service’s handling of Election Mail, that have had and will

  continue to have a major effect on the mail delivery service.

        171.   Defendants’ formal pronouncements since May 2020 regarding election

  mail have reversed a longstanding policy of giving election mail special treatment

  by delivering mail even with insufficient (or no) postage, and by expediting ballots

  to ensure that as many as possible are received by state deadlines.

        172.   Defendants have not offered any reasoned justification for the Postal

  Service’s change in policy. Defendant DeJoy has also made contradictory

  statements, claiming not to have changed policy or practices regarding election mail

  even while disavowing the historic policy and practice of affording ballots special

  treatment.

        173.   Defendants’ actions have sowed confusion and mistrust regarding the

  mail as a means of casting a ballot. Defendant DeJoy’s actions have jeopardize both

  individual voters’ ability to rely on the mail to cast ballots and the integrity of the

  election overall by potentially disenfranchising voters unnecessarily. Defendant

  DeJoy’s actions also disproportionately burden first-time voters, younger voters,

  and Black and Hispanic voters.




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        174.   Defendants’ policy changes are unlawful because they are arbitrary

  and capricious. They also violate the Postal Service’s statutory obligation to “give

  the highest consideration to the requirement for the most expeditious collection,

  transportation, and delivery of important letter mail” including Election Mail. 39

  U.S.C. § 101(e).

                                PRAYER FOR RELIEF

        Wherefore, Plaintiff prays for the following relief:

        1.     Declare that Defendants’ conduct violates the requirements of 39

  U.S.C. § 3661 and are ultra vires, void, and/or arbitrary and capricious.

        2.     Order Defendants to provide this Court and Plaintiff with daily

  updates, with respect to each Florida zip code, on a) the percentage of First-Class

  mail delivered within three days of mailing; b) the percentage of ballots delivered

  from state election authorities to Florida residents within three days of mailing; c)

  the percentage of ballots delivered from residents to state election officials within

  that zip code within three days of mailing.

        3.     Award attorney’s fees and costs pursuant to 28 U.S.C. § 2412.

        4.     Grant any other relief that the Court deems just and proper.

                                                 RESPECTFULLY SUBMITTED,

                                                 1199SEIU

                                                 By: /s/ Igor Hernandez
                                                 One of Plaintiff’s Attorneys




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  *Applications for admission pro hac vice pending




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